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IN THE UNITED STATES DISTRICT COURT "§'”\DL,
FOR THE WESTERN D:STRICT OF TENNESSEE 95 JUL
EASTERN D:v:SION 13 AH!Q.- ;g
WJ"
C"r"f
DAVID BOLING, LC£’§:‘£§
-’0
Plaintiff,
VS CIVIL NO. 1»05-1129 T/An

JURY DEMANDED

GIBSON COUNTY, GIBSON COUNTY SHERIFF'S

DEPARTMENT, JOSEPH SHEPHERD, SHERIFF OF GIBSON COUNTY,

CITY OF MEDINA, CITY OF MEDINA POLICE DEPARTMENT,

JAMES BAKER, CHIEF OF POLICE OF MEDINA, CHAD DAVIS, INVESTIGATOR OF
MEDINA POLICE DEPARTMENT,

MADISON COUNTY, MADISON COUNTY SHERIFF'S DEPARTMENT, DAVID L.
WOOLFORK, SHERIFF OF MADISON COUNTY, TOMMY G. BUNTIN, DEPUTY OF
MADISON COUNTY SHERIFF'S DEPARTMENT AND

JOHN AND/OR JANE DOES,

Defendants.

 

PR©POSED SCHEDULING ORDER

 

l. Pursuant te the Scheduling Cenference Set by
written notice, the following dates are established as the final
dates for:

INITIAL DISCLOSURES: August 12, 2005

JOINING PARTIES:

For Plaintiff: September 29, 2005
For Defendants: October 28, 2005

AMENDING PLEADINGS:

For Plaintiff: September 29, 2005
For Defendants: Oetober 28, 2005

This document entered on the docket sheet ln compliance 1
with Rule 58 and/or 79 (a) FRCP on

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COMPLETING ALL DISCOVERY: March 29, 2006
(a) Requests for Production, Interrogatories and
Requests for Admission: March 29, 2006
(b) Expert Disclosure:
(i) Plaintiff's Experts: January 27, 2006
(ii)Defendants' Experts: February 27, 2006
(iii) Supplementation under Rule 26(e):
March 9, 2006
(c) Deposition of Experts: March 29, 2006
FILING DISPOSITIVE MOTIONS: March 21, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):
(a) for Plaintiff: May 5, 2006

(b) for Defendants: May 19, 2006

Parties shall have l0 days after service of final lists
of witnesses and exhibits to file objections under Rule 26(a)(3).

Trial of this matter is expected to last five days and
is set for Jury Trial on June 21, 2006 at 9:30 a.m. A joint
pretrial order is due on June 9, 2006. In the event the parties
are unable to agree on a joint pretrial order, the parties must
notify the court at lease tend days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Reguests

for Admissions must be submitted to the opposing party in

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sufficient time for the opposing party to respond by the deadline
for completion of discovery. For example, if the FRCP allow 30
days for a party to respond, then the discovery must be submitted
at least 30 days prior to the deadline for completion of
discovery.

Motions to compel discovery are to be filed and served
by the discovery deadline or within 30 days of the default or
service of the response, answer, or objection which is the
subject of the motion if the default occurs within 30 days of the
discovery deadline, unless the time for filing of such motion is
extended for good cause shown, or any objection to the default,
response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule
T(a)(l)(B), all motions, except motions pursuant to FRCP 12,56,
59 and 60, shall be accompanied by a proposed Order and a
Certificate of Consultation.

The opposing party may file a response to any motion
filed in this matter. Neither party may file an additional reply,
however, without leave of the court. lf a party believes that a
reply is necessary, it shall file a motion for leave to file a
reply accompanied by a memorandum setting for the reasons for
which a reply is required.

The parties may consent to trial before the Magistrate

Judge. The Magistrate Judge can normally provide the parties with

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a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises
which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed
attorney mediation or private mediation on or before the close of
discovery.

This order has been entered after consultation with
trial counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this Order will not be modified or
extended.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE: QLLQ /Jj, 2003/
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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:05-CV-01129 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

